                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE

                                     CASE NO.: _____________


    GARY SILVERS and RICHARD MAROUS, on
    behalf of themselves and all others similarly
    situated,

           Plaintiffs,                                           CLASS ACTION COMPLAINT

                                                                 JURY TRIAL DEMANDED
    v.


    HCA HEALTHCARE, INC., a Tennessee
    corporation,

           Defendant.


                                  CLASS ACTION COMPLAINT

          Plaintiffs, Gary Silvers and Richard Marous (“Plaintiffs”), brings this Class Action

Complaint (“Complaint”) against Defendant, HCA Healthcare, Inc. (“Defendant”), as an

individual and on behalf of all others similarly situated, and alleges, upon personal knowledge as

to their own actions and their counsels’ investigation, and upon information and belief as to all

other matters, as follows:

                                          INTRODUCTION

          1.      Plaintiffs seek monetary damages and injunctive and declaratory relief in this

action, arising from Defendant’s failure to safeguard the Personally Identifiable Information1


1
 The Federal Trade Commission (“FTC”) defines “identifying information” as “any name or number that
may be used, alone or in conjunction with any other information, to identify a specific person,” including,
among other things, “[n]ame, Social Security number, date of birth, official State or government issued
driver’s license or identification number, alien registration number, government passport number, employer
or taxpayer identification number.” 17 C.F.R. § 248.201(b)(8). To be clear, according to Defendant, not
every type of information included in that definition was compromised in the subject data breach.


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(“PII”) and Protected Health Information (“PHI”) (together, “Private Information”) of the patients

of hospitals and physician groups it owned or operated, which resulted in unauthorized access to

its information systems on or around June 2023, and the compromised and unauthorized disclosure

of that Private Information, causing widespread injury and damages to Plaintiffs and the proposed

Class (defined below) members.

         2.     Defendant, a Nashville, Tennessee-headquartered company, is a leading healthcare

organization made up of 182 hospitals and more than 2,300 ambulatory care centers in 20 U.S.

states and the United Kingdom.2

         3.     As explained in detail herein, upon information and belief, on or about July 5, 2023,

an unauthorized party obtained from Defendant’s “external storage location exclusively used to

automate the formatting of email messages”3 a list of information pertaining to patients and made

it available on an online forum (the “Data Breach”).4

         4.     Even the fact that an individual is receiving a medical service, i.e., is a patient of a

particular entity, can be PHI. The Department of Health and Human Services (“HHS”) has

instructed health care providers that, while identifying information alone is not necessarily PHI if

it were part of a public source such as a phone book because it is not related to health data, “[i]f

such information was listed with health condition, health care provision or payment data, such as

an indication that the individual was treated at a certain clinic, then this information would be

PHI.”5

         5.     As a result of the Data Breach, which Defendant failed to prevent, the Private


2
  https://hcahealthcare.com/about/ (last accessed July 11, 2023).
3
   https://hcahealthcare.com/about/privacy-update.dot#faq7 (“HCA Healthcare Data Security Incident
Report”) (last accessed July 11, 2023).
4
  https://healthitsecurity.com/news/hca-healthcare-suffers-data-breach (last accessed July 11, 2023).
5
            https://www.hhs.gov/hipaa/for-professionals/privacy/special-topics/de-identification/index.html
(emphasis added) (last accessed July 11, 2023).


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Information of patients at hospitals or physician office owned or operated by Defendant, including

Plaintiffs and the proposed Class members (“Patients”), were stolen and released including their

names, cities, states, zip codes, email addresses, phone numbers, date of birth, gender, and

appointment information (patient service date, location, and next appointment date).6

          6.     Defendant’s investigation concluded that the Private Information compromised in

the Data Breach included Plaintiffs’ and approximately 11 million other patients’ information,

across 27 million rows of data.7

          7.     Defendant’s failure to safeguard Patients’ highly sensitive Private Information as

exposed and unauthorizedly disclosed in the Data Breach violates its common law duty and

Defendant’s implied contract with its patients to safeguard their Private Information.

          8.     Plaintiffs and Class members now face a lifetime risk of identity theft due to the

nature of the information lost, and a diminishment in the value of their private data.

          9.     Defendant’s harmful conduct has injured Plaintiffs and Class members in multiple

ways, including: (i) the lost or diminished value of their Private Information; (ii) costs associated

with the prevention, detection, and recovery from identity theft, tax fraud, and other unauthorized

use of their data; (iii) lost opportunity costs to mitigate the Data Breach’s consequences, including

lost time; and (iv) emotional distress associated with the loss of control over their highly sensitive

Private Information.

          10.    Defendant’s failure to protect Patients’ Private Information has harmed and will

continue to harm millions of Patients, causing Plaintiffs to seek relief on a classwide basis.

          11.    On behalf of themselves and the Class preliminarily defined below, Plaintiffs bring

causes of action against Defendant for negligence, negligence per se, and breach of implied


6
    Supra n.3.
7
    Id.


                                                  3
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contract, seeking an award of monetary damages and injunctive and declaratory relief, resulting

from Defendant’s failure to adequately protect their highly sensitive Private Information.

                                                PARTIES

          12.        Plaintiff Gary Silvers is, and at all times mentioned herein was, an individual

resident and citizen of the state of Florida, and a patient of HCA Florida Woodmont Hospital,

which is one of the affected facilities listed in Defendant’s Data Security Incident Report.8

          13.        Silvers provided Private Information, indirectly or directly, to Defendant on the

condition that it be maintained as confidential and with the understanding that Defendant would

employ reasonable safeguards to protect his Private Information.

          14.        If Silvers had known Defendant would not adequately protect his Private

Information, he would not have allowed Defendant to maintain this sensitive Private Information.

          15.        Plaintiff Richard Marous is, and at all times mentioned herein was, an individual

resident and citizen of the state of Florida, and a patient of HCA North Florida Hospital, which is

one of the affected facilities listed in Defendant’s Data Security Incident Report.9

          16.        Marous provided Private Information, indirectly or directly, to Defendant on the

condition that it be maintained as confidential and with the understanding that Defendant would

employ reasonable safeguards to protect his Private Information.

          17.        If Marous had known Defendant would not adequately protect his Private

Information, he would not have allowed Defendant to maintain this sensitive Private Information.

          18.        Defendant is a corporation organized under the laws of Tennessee with its

headquarters and principal place of business at 1 Park Plaza, Nashville, Tennessee 37203-6527.




8
    See supra n.3.
9
    See id.


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                                   JURISDICTION AND VENUE

          19.     This Court has subject matter jurisdiction over this action under 28 U.S.C.§ 1332(d)

because this is a class action wherein the amount in controversy exceeds the sum or value of

$5,000,000, exclusive of interest and costs, there are more than 100 members in the proposed class,

and at least one member of the class is a citizen of a state different from Defendant.

          20.     This Court has personal jurisdiction over Defendant because its principal place of

business is in this District and the acts and omissions giving rise to Plaintiff’s claims occurred in

and emanated from this District. Defendant has sufficient contacts in Tennessee, as it conducts a

significant amount of its business in the state of Tennessee.

          21.     Venue is proper under 18 U.S.C § 1391(b)(1) because Defendant’s principal place

of business is in this District.

                                    FACTUAL BACKGROUND

          Defendant’s Business

          22.     Defendant is a Nashville, Tennessee-headquartered company that owns and

operates hospitals, ambulatory care centers, and physician groups in 20 U.S. states and the United

Kingdom.10

          23.     Plaintiffs and Class members are current or former patients of hospitals or physician

centers owned by Defendant who provided their Private Information to Defendant.

          24.     The information held by Defendant at the time of the Data Breach included the

unencrypted Private Information of Plaintiffs and Class members.

          25.     Upon information and belief, Defendant (through its providers) made promises and

representations to the Patients that the Private Information collected would be kept safe and



10
     Supra n.3.


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confidential, the privacy of that information would be maintained, and Defendant would delete

any sensitive information after it was no longer required to maintain it.

       26.     Plaintiffs and Class members provided their Private Information to Defendant (via

the hospitals and physician groups Defendant owns or operates) with the reasonable expectation

and mutual understanding that Defendant would comply with its obligations to keep such

information confidential and secure from unauthorized access.

       27.     Plaintiffs and Class members have taken reasonable steps to maintain the

confidentiality of their Private Information. Plaintiffs and Class members relied on the

sophistication of Defendant to keep their Private Information confidential and securely maintained,

to use this information for necessary purposes only, and to make only authorized disclosures of

this information. Plaintiffs and Class members value the confidentiality of their Private

Information and demand security to safeguard their Private Information.

       28.     Defendant had a duty to adopt reasonable measures to protect the Private

Information of Plaintiffs and Class members from involuntary disclosure to third parties.

Defendant has a legal duty to keep Patients’ Private Information safe and confidential.

       29.     Defendant had obligations under the FTC Act, HIPAA, contract, industry

standards, and representations made to Plaintiffs and Class members, to keep their Private

Information confidential and to protect it from unauthorized access and disclosure.

       30.     Defendant derived a substantial economic benefit from collecting Plaintiff’s and

Class members’ Private Information. Without the required submission of Private Information,

Defendant could not provide the services it does through the hospitals and physician groups it

operates.




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       31.     By obtaining, collecting, using, and deriving a benefit from Plaintiff’s and Class

members’ Private Information, Defendant assumed legal and equitable duties and knew or should

have known that it was responsible for protecting Plaintiff’s and Class members’ Private

Information from disclosure.

       The Data Breach

       32.     According to the Data Security Incident Report, in or about July 2023, Defendant

discovered that Private Information with respect to some of its patients was made available by an

unknown an unauthorized party on an online forum.

       33.     Defendant did not use reasonable security procedures and practices appropriate to

the nature of the sensitive information it was maintaining for Plaintiffs and Class members, such

as encrypting the information or deleting it when it is no longer needed, causing the exposure of

Private Information.

       34.     The attacker accessed and acquired files in Defendant’s computer systems

containing unencrypted Private Information of Plaintiffs and Class members, including their name,

date of birth, and patients’ appointment information. Plaintiffs’ and Class members’ Private

Information was accessed and stolen in the Data Breach.

       Defendant Acquires, Collects, and Stores Plaintiffs’ and Class Members’ Private
       Information.

       35.     As a condition to obtain medical care from Defendant-owned or operated providers,

Plaintiffs and Class members were required to give their sensitive and confidential Private

Information to Defendant.

       36.     Defendant retains and stores this information and derives a substantial economic

benefit from the Private Information that it collects. But for the collection of Plaintiffs’ and Class

members’ Private Information, Defendant would be unable to provide its services.



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       37.     By obtaining, collecting, and storing the Private Information of Plaintiffs and Class

members, Defendant assumed legal and equitable duties and knew or should have known that they

were responsible for protecting the Private Information from disclosure.

       38.     Plaintiffs and Class members have taken reasonable steps to maintain the

confidentiality of their Private Information and relied on Defendant to keep their Private

Information confidential and maintained securely, to use this information for business purposes

only, and to make only authorized disclosures of this information.

       39.     Defendant could have prevented this Data Breach by properly securing and

encrypting the files and file servers containing the Private Information of Plaintiffs and Class

members.

       40.     Upon information and belief, Defendant (through its providers) made promises to

Plaintiffs and Class members to maintain and protect their Private Information, demonstrating an

understanding of the importance of securing Private Information.

       41.     Defendant’s negligence in safeguarding the Private Information of Plaintiffs and

Class members is exacerbated by the repeated warnings and alerts directed to protecting and

securing sensitive data.

       Defendant Knew or Should Have Known of the Risk of a Cyber Attack Because
       Healthcare Entities in Possession of Private Information are Particularly Suspectable
       to Cyber Attacks.

       42.     Data thieves regularly target entities in the healthcare industry like Defendant due

to the highly sensitive information that they maintain. Defendant knew and understood that

unprotected Private Information is valuable and highly sought after by criminal parties who seek

to illegally monetize that Private Information through unauthorized access.




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          43.      Defendant’s data security obligations were particularly important given the

substantial increase in cyber-attacks and/or data breaches targeting healthcare entities like

Defendant that collect and store Private Information and other sensitive information, preceding the

date of the Data Breach.

          44.      In light of recent high profile data breaches at other industry-leading companies,

including, e.g., Microsoft (250 million records, December 2019), Wattpad (268 million records,

June 2020), Facebook (267 million users, April 2020), Estee Lauder (440 million records, January

2020), Whisper (900 million records, March 2020), and Advanced Info Service (8.3 billion

records, May 2020), Defendant knew or should have known that the Private Information that it

collected and maintained would be targeted by cybercriminals.

          45.     For example, of the 1,862 recorded data breaches in 2021, 330 of them, or 17.7%,

were in the medical or healthcare industry.11

          46.     The 330 breaches reported in 2021 exposed nearly 30 million sensitive records

(28,045,658), compared to only 306 breaches that exposed nearly 10 million sensitive records

(9,700,238) in 2020.12

          47.     Entities in custody of PHI and/or medical information reported the largest number

of data breaches among all measured sectors in 2022, with the highest rate of exposure per

breach.13 Indeed, when compromised, healthcare related data is among the most sensitive and

personally consequential. A report focusing on healthcare breaches found the “average total cost

to resolve an identity theft-related incident . . . came to about $20,000,” and that victims were often



11
     2021 Data Breach Annual Report (ITRC, Jan. 2022) (available at https://notified.idtheftcenter.org/s/), at
6.
12
  Id.
13
    See Identity Theft Resource Center, 2022 Annual Data Breach Report, available at
https://www.idtheftcenter.org/publication/2022-data-breach-report/ (last accessed July 11, 2023).


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forced to pay out of pocket costs for healthcare they did not receive in order to restore coverage.14

Almost 50 percent of the victims lost their healthcare coverage as a result of the incident, while

nearly 30 percent said their insurance premiums went up after the event. 40 percent of the patients

were never able to resolve their identity theft at all. Data breaches and identity theft have a

crippling effect on individuals, and detrimentally impact the economy as a whole.15

        48.     Despite the prevalence of public announcements of data breach and data security

compromises, Defendant failed to take appropriate steps to protect the Private Information of

Plaintiffs and Class members from being compromised.

        49.     Defendant was, or should have been, fully aware of the unique type and the

significant volume of data on Defendant’s server(s), amounting to millions of individuals’ detailed

Private Information, and, thus, the significant number of individuals who would be harmed by the

exposure of the unencrypted data.

        50.     In the Data Security Incident Report, Defendant states:

        HCA Healthcare disabled user access to the storage location as an immediate
        containment measure. HCA Healthcare also has several robust security strategies,
        systems, and protocols in place to help protect data. The company’s efforts to protect
        data include ongoing education for our colleagues, physicians, vendors, and others to
        maintain awareness of safe practices that can help ensure compliance and the security
        of our information.16

This is wholly inadequate to compensate Plaintiffs and Class members, as it fails to account for

the multiple years of ongoing identity theft and financial fraud commonly faced by victims of data

breaches and other unauthorized disclosures. It also fails to provide sufficient compensation to


14
   See Elinor Mills, Study: Medical identity theft is costly for victims, CNET (March 3, 2010), available at
https://www.cnet.com/news/study-medical-identity-theft-is-costly-for-victims/ (last accessed July 11,
2023).
15
   See id.
16
   Supra n.3.


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Plaintiffs and Class members for the unauthorized release and disclosure of their Private

Information. Moreover, once the identity theft service expires, Plaintiffs and Class members will

be forced to pay out of pocket for necessary identity monitoring services.

       51.     Defendant’s offering of identity theft protection establishes that Plaintiff’s and

Class members’ sensitive Private Information was in fact affected, accessed, compromised, and

exfiltrated from Defendant’s computer systems. Moreover, Defendant’s offer indicates that it

recognizes that Plaintiffs and Class members are at a present and continuing risk of identity theft

and fraud as a result of the Data Breach.

       52.     The injuries to Plaintiffs and Class members were directly and proximately caused

by Defendant’s failure to implement or maintain adequate data security measures for the Private

Information of Plaintiffs and Class members.

       53.     The ramifications of Defendant’s failure to keep secure the Private Information of

Plaintiffs and Class members are long lasting and severe. Once Private Information is stolen,

fraudulent use of that information and damage to victims may continue for years.

       54.     As a healthcare entity in possession of its Patients’ Private Information, Defendant

knew, or should have known, the importance of safeguarding the Private Information entrusted to

it by Plaintiffs and Class members and of the foreseeable consequences if its data security systems

were breached. This includes the significant costs imposed on Plaintiffs and Class members

because of a breach. Nevertheless, Defendant failed to take adequate cybersecurity measures to

prevent the Data Breach.




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       Defendant Fails to Comply with FTC Guidelines

       55.     The FTC has promulgated numerous guides for businesses that highlight the

importance of implementing reasonable data security practices. According to the FTC, the need

for data security should be factored into all business decision-making.

       56.     In 2016, the FTC updated its publication, Protecting Personal Information: A Guide

for Business, which established cyber-security guidelines for businesses. These guidelines note

that businesses should protect the personal customer information that they keep; properly dispose

of personal information that is no longer needed; encrypt information stored on computer

networks; understand their network’s vulnerabilities; and implement policies to correct any

security problems.17

       57.     The guidelines also recommend that businesses use an intrusion detection system

to expose a breach as soon as it occurs; monitor all incoming traffic for activity indicating someone

is attempting to hack the system; watch for large amounts of data being transmitted from the

system; and have a response plan ready in the event of a breach.18

       58.     The FTC further recommends that companies not maintain Private Information

longer than is needed for authorization of a transaction; limit access to sensitive data; require

complex passwords to be used on networks; use industry-tested methods for security; monitor for

suspicious activity on the network; and verify that third-party service providers have implemented

reasonable security measures.

       59.     The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect customer data, treating the failure to employ reasonable and


17
   Protecting Personal Information: A Guide for Business, Federal Trade Commission (2016), available at
https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-personal-information.pdf
(last accessed July 11, 2023).
18
   Id.


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appropriate measures to protect against unauthorized access to confidential consumer data as an

unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”), 15

U.S.C. § 45. Orders resulting from these actions further clarify the measures businesses must take

to meet their data security obligations.

        60.    These FTC enforcement actions include actions against healthcare entities, like

Defendant. See, e.g., In the Matter of LabMD, Inc., a corp, 2016-2 Trade Cas. (CCH) ¶ 79708,

2016 WL 4128215, at *32 (MSNET July 28, 2016) (“[T]he Commission concludes that LabMD’s

data security practices were unreasonable and constitute an unfair act or practice in violation of

Section 5 of the FTC Act.”).

        61.    Section 5 of the FTC Act, 15 U.S.C. § 45, prohibits “unfair . . . practices in or

affecting commerce,” including, as interpreted and enforced by the FTC, the unfair act or practice

by businesses, such as Defendant, of failing to use reasonable measures to protect Private

Information. The FTC publications and orders described above also form part of the basis of

Defendant’s duty in this regard.

        62.    Defendant failed to properly implement basic data security practices.

        63.    Defendant’s failure to employ reasonable and appropriate measures to protect

against unauthorized access to Patients’ Private Information or to comply with applicable industry

standards constitutes an unfair act or practice prohibited by Section 5 of the FTC Act, 15 U.S.C. §

45.

        64.    Upon information and belief, Defendant was at all times fully aware of its

obligation to protect the Private Information of Patients; Defendant was also aware of the

significant repercussions that would result from its failure to do so. Accordingly, Defendant’s

conduct was particularly unreasonable given the nature and amount of Private Information it




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obtained and stored and the foreseeable consequences of the immense damages that would result

to Plaintiffs and the Class.

       Defendant Fails to Comply with HIPAA Guidelines.

       65.     Defendant is a covered business associate under HIPAA (45 C.F.R. § 160.102) and

is required to comply with the HIPAA Privacy Rule and Security Rule, 45 C.F.R. Part 160 and

Part 164, Subparts A and E (“Standards for Privacy of Individually Identifiable Health

Information”), and Security Rule (“Security Standards for the Protection of Electronic Protected

Health Information”), 45 C.F.R. Part 160 and Part 164, Subparts A and C.

       66.     Defendant is subject to the rules and regulations for safeguarding electronic forms

of medical information pursuant to the Health Information Technology Act (“HITECH”).19 See 42

U.S.C. §17921, 45 C.F.R. § 160.103.

       67.     HIPAA’s Privacy Rule or Standards for Privacy of Individually Identifiable Health

Information establishes national standards for the protection of health information.

       68.     HIPAA’s Privacy Rule or Security Standards for the Protection of Electronic

Protected Health Information establishes a national set of security standards for protecting health

information that is kept or transferred in electronic form.

       69.     HIPAA requires “compl[iance] with the applicable standards, implementation

specifications, and requirements” of HIPAA “with respect to electronic protected health

information.” 45 C.F.R. § 164.302.

       70.     “Electronic protected health information” is “individually identifiable health

information … that is (i) transmitted by electronic media; maintained in electronic media.” 45

C.F.R. § 160.103.


19
   HIPAA and HITECH work in tandem to provide guidelines and rules for maintaining protected health
information. HITECH references and incorporates HIPAA.


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       71.       HIPAA’s Security Rule requires Defendant to do the following:

             a. Ensure the confidentiality, integrity, and availability of all electronic protected
                health information the covered entity or business associate creates, receives,
                maintains, or transmits;

             b. Protect against any reasonably anticipated threats or hazards to the security or
                integrity of such information;

             c. Protect against any reasonably anticipated uses or disclosures of such information
                that are not permitted; and

             d. Ensure compliance by its workforce.

       72.       HIPAA also requires Defendant to “review and modify the security measures

implemented . . . as needed to continue provision of reasonable and appropriate protection of

electronic protected health information.” 45 C.F.R. § 164.306(e). Additionally, Defendant is

required under HIPAA to “[i]mplement technical policies and procedures for electronic

information systems that maintain electronic protected health information to allow access only to

those persons or software programs that have been granted access rights.” 45 C.F.R. §

164.312(a)(1).

       73.       HIPAA and HITECH also obligate Defendant to implement policies and

procedures to prevent, detect, contain, and correct security violations, and to protect against uses

or disclosures of electronic PHI that are reasonably anticipated but not permitted by the privacy

rules. See 45 C.F.R. § 164.306(a)(1) and § 164.306(a)(3); see also 42 U.S.C. §17902.

       74.       HIPAA requires a covered entity to have and apply appropriate sanctions against

members of its workforce who fail to comply with the privacy policies and procedures of the

covered entity or the requirements of 45 C.F.R. Part 164, Subparts D or E. See 45 C.F.R. §

164.530(e).




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       75.     HIPAA requires a covered entity to mitigate, to the extent practicable, any harmful

effect that is known to the covered entity of a use or disclosure of PHI in violation of its policies

and procedures or the requirements of 45 C.F.R. Part 164, Subpart E by the covered entity or its

business associate. See 45 C.F.R. § 164.530(f).

       76.     HIPAA also requires the Office of Civil Rights (“OCR”), within HHS, to issue

annual guidance documents on the provisions in the HIPAA Security Rule. See 45 C.F.R. §§

164.302-164.318. For example, “HHS has developed guidance and tools to assist HIPAA covered

entities in identifying and implementing the most cost effective and appropriate administrative,

physical, and technical safeguards to protect the confidentiality, integrity, and availability of e-

PHI and comply with the risk analysis requirements of the Security Rule.” US Department of

Health & Human Services, Security Rule Guidance Material.20 The list of resources includes a link

to guidelines set by the National Institute of Standards and Technology (NIST), which OCR says

“represent the industry standard for good business practices with respect to standards for securing

e-PHI.” US Department of Health & Human Services, Guidance on Risk Analysis.21

       Defendant Owed Plaintiffs and Class Members a Duty to Safeguard their Private
       Information.

       77.     In addition to its obligations under federal and state laws, Defendant owed a duty

to Plaintiffs and Class members to exercise reasonable care in obtaining, retaining, securing,

safeguarding, deleting, and protecting the Private Information in its possession from being

compromised, lost, stolen, accessed, and misused by unauthorized persons. Defendant owed a duty

to Plaintiffs and Class members to provide reasonable security, including consistency with industry




20
  http://www.hhs.gov/hipaa/for-professionals/security/guidance/index.html.
21
  https://www.hhs.gov/hipaa/for-professionals/security/guidance/guidance-risk-analysis/index. html (last
accessed July 11, 2023).


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standards and requirements, and to ensure that its computer systems, networks, and protocols

adequately protected the Private Information of Class members.

       78.     Defendant owed a duty to Plaintiffs and Class members to create and implement

reasonable data security practices and procedures to protect the Private Information in its

possession, including adequately training its employees and others who accessed Private

Information within its computer systems on how to adequately protect Private Information.

       79.     Defendant owed a duty to Plaintiffs and Class members to implement processes

that would detect a compromise of Private Information in a timely manner.

       80.     Defendant owed a duty to Plaintiffs and Class members to act upon data security

warnings and alerts in a timely fashion.

       81.     Defendant owed a duty to Plaintiffs and Class members to disclose in a timely and

accurate manner when and how the Data Breach occurred.

       82.     Defendant owed a duty of care to Plaintiffs and Class members because they were

foreseeable and probable victims of any inadequate data security practices.

       The Data Breach Increases Plaintiffs’ and Class Members’ Risk of Identity Theft.

       83.     Unencrypted Private Information may fall into the hands of identity thieves, as well

as companies that will use the detailed Private Information for targeted marketing without the

approval of Plaintiffs and Class members.

       84.     Simply put, unauthorized individuals can easily access the Private Information of

Plaintiffs and Class members because of the Data Breach.

       85.     The link between a data breach and the risk of identity theft is simple and well

established. Criminals acquire and steal Private Information to monetize the information.

Criminals monetize the data by selling the stolen information on the black market to other




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criminals who then utilize the information to commit a variety of identity theft related crimes

discussed below.

       86.     Plaintiffs’ and Class members’ Private Information is of great value to hackers and

cyber criminals, and the data stolen in the Data Breach has been used and will continue to be used

in a variety of sordid ways for criminals to exploit Plaintiffs and Class members and to profit from

their misfortune.

       Loss of Time to Mitigate the Risk of Identity Theft and Fraud

       87.     As a result of the recognized risk of identity theft, when a data breach occurs and

an individual is notified by a company that their Private Information was compromised, as in this

Data Breach, the reasonable person is expected to take steps and spend time to address the

dangerous situation, learn about the breach, and otherwise mitigate the risk of becoming a victim

of identity theft of fraud. Failure to spend time taking steps to review accounts or credit reports

could expose the individual to greater financial harm.

       88.     Plaintiffs and Class members have spent, and will spend additional time in the

future, on a variety of prudent actions, such as changing passwords and resecuring their own

computer systems.

       89.     Plaintiffs’ mitigation efforts are consistent with the U.S. Government

Accountability Office that released a report in 2007 regarding data breaches (“GAO Report”) in

which it noted that victims of identity theft will face “substantial costs and time to repair the

damage to their good name and credit record.”22




22
   See United States Government Accountability Office, GAO-07-737, Personal Information: Data
Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the Full Extent Is
Unknown (June 2007), https://www.gao.gov/new.items/d07737.pdf (last accessed July 11, 2023).


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        90.     Plaintiffs’ mitigation efforts are also consistent with the steps the FTC recommends

data breach victims take to protect their personal and financial information after a data breach,

including: contacting one of the credit bureaus to place a fraud alert (and considering an extended

fraud alert that lasts for seven years if someone steals their identity), reviewing their credit reports,

contacting companies to remove fraudulent charges from their accounts, placing a credit freeze on

their credit, and correcting their credit reports.23

        91.     And for those Class members who experience actual identity theft and fraud, the

United States Government Accountability Office released a report in 2007 regarding data breaches

(“GAO Report”) in which it noted that victims of identity theft will face “substantial costs and

time to repair the damage to their good name and credit record.”

        Diminution of Value of Private Information.

        92.     Private Information is valuable property.24 Its value is axiomatic, considering the

value of Big Data in corporate America and that the consequences of cyber thefts include heavy

prison sentences. Even this obvious risk-to-reward analysis illustrates, beyond doubt, that Private

Information has considerable market value.

        93.     The Private Information stolen in the Data Breach is significantly more valuable

than the loss of, say, credit card information in a large retailer data breach. Victims affected by

those retailer breaches could avoid much of the potential future harm by simply cancelling credit

or debit cards and obtaining replacements.

        94.     This kind of data, as one would expect, demands a much higher price on the dark



23
   See Federal Trade Commission, Identity Theft.gov, https://www.identitytheft.gov/Steps (last accessed
July 11, 2023).
24
   See “Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the Full
Extent Is Unknown,” at 2, U.S. Government Accountability Office, June 2007,
https://www.gao.gov/new.items/d07737.pdf (last accessed July 11, 2023) (“GAO Report”).


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web. Martin Walter, senior director at cybersecurity firm RedSeal, explained, “Compared to credit

card information, personally identifiable information… [is] worth more than 10x on the black

market.”25

        95.     Sensitive Private Information can sell for as much as $363 per record according to

the Infosec Institute.26

        96.     An active and robust legitimate marketplace for Private Information also exists. In

2019, the data brokering industry was worth roughly $200 billion.27 In fact, the data marketplace

is so sophisticated that consumers can actually sell their non-public information directly to a data

broker who in turn aggregates the information and provides it to marketers or app developers.28,29

Consumers who agree to provide their web browsing history to the Nielsen Corporation can

receive up to $50 a year.30

        97.     As a result of the Data Breach, Plaintiffs’ and Class members’ Private Information,

which has an inherent market value in both legitimate and dark markets, has been damaged and

diminished by its compromise and unauthorized release. However, this transfer of value occurred

without any consideration paid to Plaintiffs or Class members for their property, resulting in an

economic loss. Moreover, the Private Information is now readily available, and the rarity of the

data has been lost, thereby causing additional loss of value.


25
   Tim Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card Numbers, IT
WORLD (Feb. 6, 2015), http://www.itworld.com/article/2880960/anthem-hackpersonal-data-stolen-sells-
for-10x-price-of-stolen-credit-card-numbers.html (last accessed July 11, 2023).
26
   See, e.g., John T. Soma, et al, Corporate Privacy Trend: The “Value” of Personally Identifiable
Information (“Private Information”) Equals the “Value” of Financial Assets, 15 Rich. J.L. & Tech. 11, at
*3-4 (2009) (“Private Information, which companies obtain at little cost, has quantifiable value that is
rapidly reaching a level comparable to the value of traditional financial assets.”) (citations omitted).
27
    See Ashiq Ja, Hackers Selling Healthcare Data in the Black Market, InfoSec (July 27, 2015),
https://resources.infosecinstitute.com/topic/hackers-selling-healthcare-data-in-the-black-market/        (last
accessed July 11, 2023).
28
   https://www.latimes.com/business/story/2019-11-05/column-data-brokers (last accessed July 11, 2023).
29
   https://datacoup.com/ (last accessed June 13, 2023).
30
   https://digi.me/what-is-digime/ (last accessed July 11, 2023).


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         98.    The fraudulent activity resulting from the Data Breach may not come to light for

years.

         99.    Plaintiffs and Class members now face years of constant surveillance of their

financial and personal records, monitoring, and loss of rights. Plaintiffs and Class members are

incurring and will continue to incur such damages in addition to any fraudulent use of their Private

Information.

         100.   Defendant was, or should have been, fully aware of the unique type and the

significant volume of data on Defendant’s network, amounting to millions of individuals’ detailed

Private Information and, thus, the significant number of individuals who would be harmed by the

exposure of the unencrypted data.

         101.   The injuries to Plaintiffs and Class members were directly and proximately caused

by Defendant’s failure to implement or maintain adequate data security measures for the Private

Information of Plaintiffs and Class members.

         The Future Cost of Credit and Identity Theft Monitoring is Reasonable and
         Necessary.

         102.   Given the type of targeted attack in this case, the sophisticated criminal activity, the

volume of data compromised in this Data Breach, and the sensitive type of Private Information

involved in this Data Breach, there is a strong probability that the stolen information will be used

by criminals for identity theft crimes—e.g., opening bank accounts in the victims’ names to make

purchases or to launder money; file false tax returns; take out loans or lines of credit; or file false

unemployment claims.

         103.   Such fraud may go undetected until debt collection calls commence months, or even

years, later. An individual may not know that his or her Private Information was used to file for

unemployment benefits until law enforcement notifies the individual’s employer of the suspected



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fraud. Fraudulent tax returns are typically discovered only when an individual’s authentic tax

return is rejected.

        104.    Consequently, Plaintiffs and Class members are at an increased risk of fraud and

identity theft for many years into the future.

        105.    The retail cost of credit monitoring and identity theft monitoring can cost around

$200 a year per Class member. This is a reasonable and necessary cost to monitor and protect Class

members from the risk of identity theft resulting from Defendant’s Data Breach. This is a future

cost for a minimum of five years that Plaintiffs and Class members would not need to bear, but for

Defendant’s failure to safeguard their Private Information.

        Loss of the Benefit of the Bargain

        106.    Furthermore, Defendant’s poor data security deprived Plaintiffs and Class members

of the benefit of their bargain. When agreeing to pay providers at hospitals or medical groups

owned by Defendant for the provision of health care, Plaintiffs and other reasonable consumers

understood and expected that they were, in part, paying for the service and necessary data security

to protect the Private Information when, in fact, Defendant did not provide the expected data

security. Accordingly, Plaintiffs and Class members received services that were of a lesser value

than what they reasonably expected to receive under the bargains they struck with Defendant.

        Plaintiffs’ Experience

        107.    Plaintiffs obtained medical care from HCA Florida Woodmont Hospital and HCA

North Florida Hospital, which are owned by Defendant. To obtain this medical care, they were

required to provide their Private Information, whether directly or indirectly, to Defendant.

        108.    Upon information and belief, at the time of the Data Breach––on or around July 5,

2023––Defendant retained Plaintiffs’ Private Information in its system.




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       109.    Plaintiffs are very careful about sharing their sensitive Private Information.

Plaintiffs store any documents containing their Private Information in a safe and secure location.

Plaintiffs have never knowingly transmitted unencrypted sensitive Private Information over the

Internet or any other unsecured source.

       110.    As a result of the Data Breach, Plaintiffs made reasonable efforts to mitigate the

impact of the Data Breach, including checking their bills and accounts to make sure they were

correct. Plaintiffs have spent significant time dealing with the Data Breach, valuable time they

otherwise would have spent on other activities, including but not limited to work and/or recreation.

This time has been lost forever and cannot be recaptured.

       111.    As a result of the Data Breach, Plaintiffs fear for their personal financial security

and uncertainty over what medical information was revealed in the Data Breach. They are

experiencing feelings of anxiety, sleep disruption, stress, and fear because of the Data Breach. This

goes far beyond allegations of mere worry or inconvenience; it is exactly the sort of injury and

harm to a Data Breach victim that is contemplated and addressed by law.

       112.    As a result of the Data Breach, Plaintiffs anticipate spending considerable time and

money on an ongoing basis to try to mitigate and address harms caused by the Data Breach.

       113.    As a result of the Data Breach, Plaintiffs are presently at risk and will continue to

be at increased risk of identity theft and fraud for years to come.

       114.    Plaintiffs have a continuing interest in ensuring that their Private Information,

which, upon information and belief, remains in Defendant’s possession, is protected and

safeguarded from future breaches.

                               CLASS ACTION ALLEGATIONS




                                                 23
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               115.   Pursuant to Federal Rules of Civil Procedure 23(b)(2), 23(b)(3), and 23(c)(4),

Plaintiffs bring this action on behalf of themselves and on behalf of all members of the proposed

Nationwide Class (the “Class”) defined as:

               All individuals residing in the United States whose Private Information was accessed
               and/or acquired by an unauthorized party as a result of the Data Breach reported to have
               occurred on or about July 5, 2023.

               116.   Excluded from the Class are the following individuals and/or entities: Defendant

and Defendant’s parents, subsidiaries, affiliates, officers and directors, and any entity in which

Defendant has a controlling interest; all individuals who make a timely election to be excluded

from this proceeding using the correct protocol for opting out; and all judges assigned to hear any

aspect of this litigation, as well as their immediate family members.

               117.   Plaintiffs reserve the right to amend the definition of the Class or add a Class or

Sub-class if further information and discovery indicate that the definition of the Class should be

narrowed, expanded, or otherwise modified.

               118.   Numerosity: The Class members are so numerous that joinder of all members is

impracticable, if not completely impossible. Approximately 11 million individuals were notified

by Defendant of the Data Breach.31 The Class is apparently identifiable within Defendant’s

records, and Defendant has already identified these individuals (as evidenced by sending them

Notice Letters).

               119.   Common questions of law and fact exist as to all Class members and predominate

over any questions affecting solely individual Class members. Among the questions of law and

fact common to the Class that predominate over questions which may affect individual Class

members, are the following:



31
     [cite.]


                                                      24
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              a.    Whether and to what extent Defendant had a duty to protect the Private

                    Information of Plaintiffs and Class members;

              b.    Whether Defendant had respective duties not to disclose the Private

                    Information of Plaintiffs and Class members to unauthorized third parties;

              c.    Whether Defendant had respective duties not to use the Private Information

                    of Plaintiffs and Class members for non-business purposes;

              d.    Whether Defendant failed to adequately safeguard the Private Information of

                    Plaintiffs and Class members;

              e.    Whether Defendant failed to implement and maintain reasonable security

                    procedures and practices appropriate to the nature and scope of the

                    information compromised in the Data Breach;

              f.    Whether Defendant adequately addressed and fixed the vulnerabilities which

                    permitted the Data Breach to occur;

              g.    Whether Plaintiffs and Class members are entitled to actual damages,

                    statutory damages, and/or nominal damages as a result of Defendant’s

                    wrongful conduct; and

              h.    Whether Plaintiffs and Class members are entitled to injunctive relief to

                    redress the imminent and currently ongoing harm faced as a result of the Data

                    Breach.

       120.   Typicality: Plaintiff’s claims are typical of those of the other Class members

because Plaintiffs, like every other Class member, was exposed to virtually identical conduct and

now suffers from the same violations of the law as each other member of the Class.




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       121.    This class action is also appropriate for certification because Defendant acted or

refused to act on grounds generally applicable to the Class, thereby requiring the Court’s

imposition of uniform relief to ensure compatible standards of conduct toward the Class members

and making final injunctive relief appropriate with respect to the Class as a whole. Defendant’s

policies challenged herein apply to and affect Class members uniformly and Plaintiffs’ challenge

of these policies hinges on Defendant’s conduct with respect to the Class as a whole, not on facts

or law applicable only to Plaintiff.

       122.    Adequacy: Plaintiffs will fairly and adequately represent and protect the interests

of Class members in that they have no disabling conflicts of interest that would be antagonistic to

those of the other Class members. Plaintiffs seek no relief that is antagonistic or adverse to Class

members and the infringement of the rights and the damages they have suffered are typical of other

Class members. Plaintiffs have retained counsel experienced in complex class action and data

breach litigation, and Plaintiffs intend to prosecute this action vigorously.

       123.    Superiority: Class litigation is an appropriate method for fair and efficient

adjudication of the claims involved. Class action treatment is superior to all other available

methods for the fair and efficient adjudication of the controversy alleged herein; it will permit a

large number of Class members to prosecute their common claims in a single forum

simultaneously, efficiently, and without the unnecessary duplication of evidence, effort, and

expense that millions of individual actions would require. Class action treatment will permit the

adjudication of relatively modest claims by certain Class members, who could not individually

afford to litigate a complex claim against large corporations, like Defendant. Further, even for

those Class members who could afford to litigate such a claim, it would still be economically

impractical and impose a burden on the courts.




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       124.    The nature of this action and the nature of laws available to Plaintiffs and Class

members make the use of the class action device a particularly efficient and appropriate procedure

to afford relief to Plaintiffs and Class members for the wrongs alleged because Defendant would

necessarily gain an unconscionable advantage since they would be able to exploit and overwhelm

the limited resources of each individual Class member with superior financial and legal resources;

the costs of individual suits could unreasonably consume the amounts that would be recovered;

proof of a common course of conduct to which Plaintiffs was exposed is representative of that

experienced by the Class and will establish the right of each Class member to recover on the cause

of action alleged; and individual actions would create a risk of inconsistent results and would be

unnecessary and duplicative of this litigation.

       125.    Adequate notice can be given to Class members directly using information

maintained in Defendant’s records.

       126.    Further, Defendant has acted on grounds that apply generally to the Class as a

whole, so that class certification, injunctive relief, and corresponding declaratory relief are

appropriate on a class-wide basis.

               a.    Whether Defendant owed a legal duty to Plaintiffs and the Class to exercise

                     due care in collecting, storing, and safeguarding their Private Information;

               b.    Whether Defendant’s security measures to protect their data systems were

                     reasonable in light of best practices recommended by data security experts;

               c.    Whether Defendant’s failure to institute adequate protective security

                     measures amounted to negligence;

               d.    Whether Defendant’s failure to institute adequate protective security

                     measures amounted to breach of an implied contract;




                                                  27
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               e.    Whether Defendant failed to take commercially reasonable steps to safeguard

                     consumer Private Information; and

               f.    Whether adherence to HIPAA and FTC data security recommendations, and

                     measures recommended by data security experts would have reasonably

                     prevented the Data Breach.

                                     CAUSES OF ACTION

                                           COUNT I
                                          Negligence
                             (On Behalf of Plaintiffs and the Class)

       127.    Plaintiffs re-allege and incorporate by reference herein all the allegations contained

in paragraphs 1 through 126.

       128.    Defendant requires its Patients, including Plaintiffs and Class members, to submit

non-public Private Information in the ordinary course of providing medical care.

       129.    Defendant gathered and stored the Private Information of Plaintiffs and Class

members as part of its providers’ business of providing its medical services to Patients.

       130.    Plaintiffs and Class members entrusted Defendant (through its providers) with their

Private Information with the understanding that Defendant would safeguard their information.

       131.    Defendant had full knowledge of the sensitivity of the Private Information and the

types of harm that Plaintiffs and Class members could and would suffer if the Private Information

were wrongfully disclosed.

       132.    By assuming the responsibility to collect and store this data, and in fact doing so,

and sharing it and using it for commercial gain, Defendant had a duty of care to use reasonable

means to secure and safeguard their computer property—and Class members’ Private Information




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held within it—to prevent disclosure of the information, and to safeguard the information from

theft.

         133.   Defendant's duty to use reasonable security measures under HIPAA required

Defendant to “reasonably protect” confidential data from “any intentional or unintentional use or

disclosure” and to “have in place appropriate administrative, technical, and physical safeguards to

protect the privacy of protected health information.” 45 C.F.R. § 164.530(c)(l). Some or all of the

healthcare and/or medical information at issue in this case constitutes “protected health

information” within the meaning of HIPAA.

         134.   Defendant owed a duty of care to Plaintiffs and Class members to provide data

security consistent with industry standards and other requirements discussed herein, and to ensure

that its systems and networks, and the personnel responsible for them, adequately protected the

Private Information.

         135.   Defendant’s duty of care to use reasonable security measures arose as a result of

the special relationship that existed between Defendant and its Patients. That special relationship

arose because Plaintiffs and Class members entrusted Defendant (via Defendant-owned or

operated hospitals or medical providers) with their confidential Private Information as a necessary

part of being receiving medical care.

         136.   Defendant’s duty to use reasonable care in protecting confidential data arose not

only as a result of the statutes and regulations described above, but also because Defendant is

bound by industry standards to protect confidential Private Information.

         137.   Defendant was subject to an “independent duty,” untethered to any contract

between Defendant and Plaintiffs or the Class.




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       138.    Defendant breached its duties, thus was negligent, by failing to use reasonable

measures to protect Class members’ Private Information. The specific negligent acts and omissions

committed by Defendant include, but are not limited to, (a) failing to adopt, implement, and

maintain adequate security measures to safeguard Class members’ Private Information; (b) failing

to adequately monitor the security of their networks and systems; and (c) allowing unauthorized

access to Class members’ Private Information.

       139.    A breach of security, unauthorized access, and resulting injury to Plaintiffs and the

Class was reasonably foreseeable, particularly considering Defendant’s inadequate security

practices.

       140.    It was foreseeable that Defendant’s failure to use reasonable measures to protect

Class members’ Private Information would result in injury to Class members. Further, the breach

of security was reasonably foreseeable given the known high frequency of cyberattacks and data

breaches in the healthcare industry.

       141.    Defendant has full knowledge of the sensitivity of the Private Information and the

types of harm that Plaintiffs and Class members could and would suffer if the Private Information

were wrongfully disclosed.

       142.    Plaintiffs and Class members were the foreseeable and probable victims of any

inadequate security practices and procedures. Defendant knew or should have known of the

inherent risks in collecting and storing the Private Information of Plaintiffs and Class members,

the critical importance of providing adequate security of that Private Information, and the necessity

for encrypting Private Information stored on Defendant’s systems.

       143.    It was therefore foreseeable that the failure to adequately safeguard Class members’

Private Information would result in one or more types of injuries to Class members.




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       144.    Plaintiffs and Class members had no ability to protect their Private Information that

was in, and likely remains in, Defendant’s possession.

       145.    Defendant was in a position to protect against the harm suffered by Plaintiffs and

the Class as a result of the Data Breach.

       146.    Defendant’s duty extended to protecting Plaintiffs and Class members from the risk

of foreseeable criminal conduct of third parties, which has been recognized in situations where the

actor’s own conduct or misconduct exposes another to the risk or defeats protections put in place

to guard against the risk, or where the parties are in a special relationship. See Restatement

(Second) of Torts § 302B. Numerous courts and legislatures have also recognized the existence of

a specific duty to reasonably safeguard personal information.

       147.    Defendant has admitted that the Private Information of Plaintiffs and Class

members was wrongfully lost and disclosed to unauthorized third persons as a result of the Data

Breach.

       148.    But for Defendant’s wrongful and negligent breach of duties owed to Plaintiffs and

Class members, the Private Information of Plaintiffs and Class members would not have been

compromised.

       149.    There is a close causal connection between Defendant’s failure to implement

security measures to protect the Private Information of Plaintiffs and Class members and the harm,

or risk of imminent harm, suffered by Plaintiffs and Class members. The Private Information of

Plaintiffs and Class members was lost and accessed as the proximate result of Defendant’s failure

to exercise reasonable care in safeguarding such Private Information by adopting, implementing,

and maintaining appropriate security measures.




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        150.    As a direct and proximate result of Defendant’s negligence, Plaintiffs and Class

members have suffered and will suffer injury, including but not limited to: (i) invasion of privacy;

(ii) lost or diminished value of their Private Information; (iii) lost opportunity costs associated with

attempting to mitigate the actual consequences of the Data Breach, including but not limited to

lost time; (iv) loss of benefit of the bargain; and (v) the continued and certainly increased risk to

their Private Information, which: (a) remains unencrypted and available for unauthorized third

parties to access and abuse; and (b) remains in Defendant’s possession and is subject to further

unauthorized disclosures so long as Defendant fails to undertake appropriate and adequate

measures to protect the Private Information.

        151.    As a direct and proximate result of Defendant’s negligence, Plaintiffs and Class

members have suffered and will continue to suffer other forms of injury and/or harm, including,

but not limited to, anxiety, emotional distress, loss of privacy, and other economic and non-

economic losses.

        152.    Additionally, as a direct and proximate result of Defendant’s negligence, Plaintiffs

and Class members have suffered and will suffer the continued risks of exposure of their Private

Information, which remains in Defendant’s possession and is subject to further unauthorized

disclosures so long as Defendant fails to undertake appropriate and adequate measures to protect

the Private Information in its continued possession.

        153.    Plaintiffs and Class members are entitled to compensatory and consequential

damages suffered as a result of the Data Breach.

        154.    Plaintiffs and Class members are also entitled to injunctive relief requiring

Defendant to (i) strengthen its data security systems and monitoring procedures; (ii) submit to




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future annual audits of those systems and monitoring procedures; and (iii) continue to provide

adequate credit monitoring to all Class members.

                                          COUNT II
                                      Negligence Per Se
                             (On behalf of Plaintiffs and the Class)

       155.    Plaintiffs re-allege and incorporate by reference herein all the allegations contained

in paragraphs 1 through 126.

       156.    Pursuant to the Federal Trade Commission Act, 15 U.S.C. § 45, Defendant had a

duty to provide fair and adequate computer systems and data security practices to safeguard

Plaintiffs’ and Class members’ Private Information.

       157.    Pursuant to HIPAA, 42 U.S.C. § 1302d, et seq., Defendant had a duty to implement

reasonable safeguards to protect Plaintiffs’ and Class members’ Private Information.

       158.    Pursuant to HIPAA, Defendant had a duty to render the electronic PHI they

maintained unusable, unreadable, or indecipherable to unauthorized individuals, as specified in the

HIPAA Security Rule by “the use of an algorithmic process to transform data into a form in which

there is a low probability of assigning meaning without use of a confidential process or key.” See

definition of encryption at 45 C.F.R. § 164.304.

       159.    Defendant breached its duties to Plaintiffs and Class members under the FTC Act

and HIPAA by failing to provide fair, reasonable, or adequate computer systems and data security

practices to safeguard Plaintiffs’ and Class members’ Private Information.

       160.    Defendant’s failure to comply with applicable laws and regulations constitutes

negligence per se.

       161.    The injuries to Plaintiffs and Class members resulting from the Data Breach were

directly and indirectly caused by Defendant’s violation of the statutes described herein.




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       162.    Plaintiffs and Class members were within the class of persons the Federal Trade

Commission Act and HIPAA were intended to protect and the type of harm that resulted from the

Data Breach was the type of harm these statues were intended to guard against.

       163.    But for Defendant’s wrongful and negligent breach of their duties owed to Plaintiffs

and Class members, Plaintiffs and Class members would not have been injured.

       164.    The injuries and harms suffered by Plaintiffs and Class members were the

reasonably foreseeable result of Defendant’s breach of its duties. Defendant knew or should have

known that it was failing to meet its duties and that Defendant’s breach would cause Plaintiffs and

Class members to experience the foreseeable harms associated with the exposure of their Private

Information.

       165.    As a direct and proximate result of Defendant’s negligent conduct, Plaintiffs and

Class members have suffered injuries and are entitled to compensatory, consequential, and

punitive damages in an amount to be proven at trial.

                                         COUNT III
                                 Breach of Implied Contract
                             (On Behalf of Plaintiffs and the Class)

       166.    Plaintiffs re-allege and incorporate by reference herein all of the allegations

contained in paragraphs 1 through 126.

       167.    Defendant (through its providers) offered to provide services to patients, which are

Plaintiffs and Class members, in exchange for payment.

       168.    Defendant also required Plaintiffs and the Class members to provide Defendant

with their Private Information to receive medical care.

       169.    In turn, Defendant impliedly promised to protect Plaintiffs’ and Class members’

Private Information through adequate data security measures.



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       170.      Plaintiffs and the Class members accepted Defendant’s offer by providing Private

Information to Defendant in exchange for receiving Defendant’s services, and then by paying for

and receiving the same.

       171.      Plaintiffs and Class members would not have entrusted their Private Information to

Defendant but-for the above-described agreement with Defendant.

       172.      Defendant materially breached its agreement(s) with Plaintiffs and Class members

by failing to safeguard such Private Information, violating industry standards necessarily

incorporated in the agreement.

       173.      Plaintiffs and Class members have performed under the relevant agreements, or

such performance was waived by the conduct of Defendant.

       174.      The covenant of good faith and fair dealing is an element of every contract. All

such contracts impose on each party a duty of good faith and fair dealing. The parties must act

with honesty in fact in the conduct or transactions concerned. Good faith and fair dealing, in

connection with executing contracts and discharging performance and other duties according to

their terms, means preserving the spirit—not merely the letter—of the bargain. Put differently, the

parties to a contract are mutually obligated to comply with the substance of their contract along

with its form.

       175.      Defendant’s conduct as alleged herein also violated the implied covenant of good

faith and fair dealing inherent in every contract.

       176.      The losses and damages Plaintiffs and Class members sustained as described herein

were the direct and proximate result of Defendant’s breach of the implied contracts with them,

including breach of the implied covenant of good faith and fair dealing.




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                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, on behalf of themselves and Class members, request judgment

against Defendant and that the Court grants the following:

       A.     For an order certifying the Class, as defined herein, and appointing Plaintiffs and

              their Counsel to represent the Class;

       B.     For equitable relief enjoining Defendant from engaging in the wrongful conduct

              complained of herein pertaining to the misuse and/or disclosure of the Private

              Information of Plaintiffs and Class members, and from refusing to issue prompt,

              complete, any accurate disclosures to Plaintiffs and Class members;

       C.     For injunctive relief requested by Plaintiffs, including but not limited to, injunctive

              and other equitable relief as is necessary to protect the interests of Plaintiffs and

              Class members, including but not limited to an order:

              i.      prohibiting Defendant from engaging in the wrongful and unlawful acts

                      described herein;

              ii.     requiring Defendant to protect, including through encryption, all data

                      collected through the course of its business in accordance with all applicable

                      regulations, industry standards, and federal, state, or local laws.

              iii.    requiring Defendant to delete, destroy, and purge the Private Information of

                      Plaintiffs and Class members unless Defendant can provide to the Court

                      reasonable justification for the retention and use of such information when

                      weighed against the privacy interests of Plaintiffs and Class members;




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        iv.     requiring Defendant to implement and maintain a comprehensive

                information security program designed to protect the confidentiality and

                integrity of the Private Information of Plaintiffs and Class members;

        v.      prohibiting Defendant from maintaining the Private Information of

                Plaintiffs and Class members on a cloud-based database;

        vi.     requiring   Defendant    to    engage   independent    third-party   security

                auditors/penetration testers as well as internal security personnel to conduct

                testing, including simulated attacks, penetration tests, and audits on

                Defendant’s systems on a periodic basis, and ordering Defendant to

                promptly correct any problems or issues detected by such third-party

                security auditors;

        vii.    requiring Defendant to engage independent third-party security auditors and

                internal personnel to run automated security monitoring;

        viii.   requiring Defendant to audit, test, and train its security personnel regarding

                any new or modified procedures;

        ix.     requiring Defendant to segment data by, among other things, creating

                firewalls and access controls so that if one area of Defendant’s network is

                compromised, hackers cannot gain access to other portions of Defendant’s

                systems;

        x.      requiring Defendant to conduct regular database scanning and security

                checks;

        xiv.    requiring Defendant to implement, maintain, regularly review, and revise

                as necessary a threat management program designed to appropriately




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                        monitor Defendant’s information networks for threats, both internal and

                        external, and assess whether monitoring tools are appropriately configured,

                        tested, and updated;

              xv.       requiring Defendant to meaningfully educate all Class members about the

                        threats that they face as a result of the loss of their confidential Private

                        Information to third parties, as well as the steps affected individuals must

                        take to protect themselves; and

              xvi.      requiring Defendant to implement logging and monitoring programs

                        sufficient to track traffic to and from Defendant’s servers; and for a period

                        of 10 years, appointing a qualified and independent third-party assessor to

                        conduct an attestation on an annual basis to evaluate Defendant’s

                        compliance with the terms of the Court’s final judgment, to provide such

                        report to the Court and to counsel for the class, and to report any deficiencies

                        with compliance of the Court’s final judgment.

       D.     For an award of damages, including actual, statutory, nominal, and consequential

              damages, as allowed by law in an amount to be determined by a jury at trial;

       E.     For an award of attorneys’ fees, costs, and litigation expenses, as allowed by law;

       F.     For prejudgment interest on all amounts awarded; and

       G.     Such other and further relief as this Court may deem just and proper.

                                   JURY TRIAL DEMANDED

       Plaintiffs hereby demand a trial by jury of all issues so triable.

Dated: July 12, 2023.




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                                       Respectfully Submitted,

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